8:12-cr-00391-JFB-SMB        Doc # 682   Filed: 09/22/15   Page 1 of 1 - Page ID # 5331




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,

                    Plaintiff,                                8:12CR391

      vs.
                                                               ORDER
FRANK FIROZ,

                    Defendant.


      This matter is before the Court on the defendant's motion to compel, Filing No.

681. The motion is denied for the reasons previously set forth.    See Filing Nos. 674

(sealed) and 675.

       IT IS SO ORDERED.



      Dated this 22nd day of September, 2015

                                               BY THE COURT:
                                               s/ Joseph F. Bataillon
                                               Senior United States District Judge
